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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                              CASE NO.:

  WINDY LUCIUS,

         Plaintiff,

  v.

  ALI G. INC d/b/a MONTCE SWIM,

         Defendant.
                                                 /

                            COMPLAINT FOR INJUNCTIVE RELIEF

         Plaintiff, WINDY LUCIUS, (“Plaintiff”), hereby sues the Defendant, ALI G. INC d/b/a

  MONTCE SWIM (“Defendant”), a Florida profit corporation, for Injunctive Relief, and attorney’s

  fees, litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. §

  12181 et seq. (“ADA”).

         1.      Plaintiff is a Florida resident, lives in Miami-Dade County, is sui juris, and qualifies

  as an individual with disabilities as defined by the ADA. Plaintiff is blind and therefore unable to

  fully engage in and enjoy the major life activity of seeing.

         2.      Plaintiff also utilizes the internet. Plaintiff is unable to read computer materials

  and/or access and comprehend internet website information without software specially designed

  for the visually impaired. Specifically, Plaintiff utilizes the JAWS Screen Reader software, which is

  one of the most popular reader Screen Reader Software ("SRS") utilized worldwide.

         3.      Plaintiff is also an advocate of the rights of similarly situated disabled persons and

  is a “tester” for the purpose of asserting her civil rights and monitoring, ensuring, and determining

  whether places of public accommodation and/or their websites are in compliance with the ADA.
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          4.      Defendant owns, leases, leases to, or operates a place of public accommodation as

  defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104. The

  place of public accommodation that the Defendant owns, operates, or leases is located in Miami-

  Dade County.

          5.      Subsequent to the effective date of the ADA, Defendant constructed, or caused to be

  constructed, a website located at https://montce.com/ (hereinafter “website”). Defendant is the

  owner, operator, lessor and/or lessee of the website. This website supports, is an extension of, is

  in conjunction with, is complementary and supplemental to, the above-referenced public

  accommodation. This website provides information about Defendant's public accommodation,

  including information about the special sales, goods, services, accommodations, privileges, benefits

  and facilities available to patrons at physical locations. The website also allows customers to make

  purchases online. On information and belief, Defendant also continually and/or periodically

  updates and maintains the website.

          6.      Venue lies in the Southern District of Florida pursuant to 28 U.S.C. § 1391(b), and

  Local Rule 3.1, in that the original transaction or occurrence giving rise to this cause of action

  occurred in this District.

          7.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

  original jurisdiction over actions which arise from the Defendant’s violations of Title III of the

  Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and § 2202.

          8.      The website is an extension of Defendant's place of public accommodation. By and

  through this website, Defendant extends its public accommodation into individual persons' homes,

  portable devices and personal computers wherever located. The website is a service, facility,

  privilege, advantage, benefit and accommodation of Defendant's place of accommodation. The




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  website also provides access to the goods, services, facilities, privileges, advantages or

  accommodations of the place of public accommodation. For example, the website provides a store

  locator, a list of items available for sale in the brick and mortar stores, and the ability to purchase

  items to be shipped. Like many people, Plaintiff would like to pre-shop the Defendant’s stores to

  determine whether certain items are available at the stores before she leaves home and whether the

  items are “on sale”. She would like to take advantage of special sales in store that she would only

  know about from the website. She would also like to determine store locations where she would

  shop. Defendant’s website provides access to benefits of Defendant’s physical stores and Plaintiff

  was denied those benefits when she could not access Defendant’s website. As such, the website

  has integrated with and is a nexus to the brick and mortar location. Therefore, it is governed by

  the following provisions:

                 a.      42 U.S.C. Section 12182(a) provides: “No individual shall be discriminated

  against on the basis of disability in the full and equal enjoyment of the goods, services, facilities,

  privileges, advantages, or accommodations of any place of public accommodation by any person

  who owns, leases (or leases to), or operates a place of public accommodation.”

                 b.      42 U.S.C. Section 12182(b)(1)(A)(i) provides: “It shall be discriminatory to

  subject an individual or class of individuals on the basis of a disability or disabilities of such

  individual or class, directly, or through contractual, licensing, or other arrangements, to a denial

  of the opportunity of the individual or class to participate in or benefit from the goods, services,

  facilities, privileges, advantages, or accommodations of an entity[.]”

                 c.      42 U.S.C. Section 12182(b)(1)(A)(ii) provides: “It shall be discriminatory to

  afford an individual or class of individuals, on the basis of a disability or disabilities of such

  individual or class, directly, or through contractual, licensing, or other arrangements with the




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  opportunity to participate in or benefit from a good, service, facility, privilege, advantage, or

  accommodation that is not equal to that afforded to other individuals[.]”

                  d.       42 U.S.C. Section 12182(b)(1)(A)(ii) provides: “It shall be discriminatory to

  provide an individual or class of individuals, on the basis of a disability or disabilities of such

  individual or class, directly, or through contractual, licensing, or other arrangements with a good,

  service, facility, privilege, advantage, or accommodation that is different or separate from that

  provided to other individuals, unless such action is necessary to provide the individual or class of

  individuals with a good, service, facility, privilege, advantage, or accommodation, or other

  opportunity that is as effective as that provided to others[.]”

                  e.       42 U.S.C. Section 12182(b)(1)(B) provides: “Goods, services, facilities,

  privileges, advantages, and accommodations shall be afforded to an individual with a disability in

  the most integrated setting appropriate to the needs of the individual.”

                  f.       42 U.S.C. Section 12182(b)(1)(C) provides: “Notwithstanding the existence

  of separate or different programs or activities provided in accordance with this section, an

  individual with a disability shall not be denied the opportunity to participate in such programs or

  activities that are not separate or different.”

                  g.       42 U.S.C. Section 12182(b)(2)(ii) describes as discrimination: “a failure to

  make reasonable modifications in policies, practices, or procedures, when such modifications are

  necessary to afford such goods, services, facilities, privileges, advantages, or accommodations to

  individuals with disabilities, unless the entity can demonstrate that making such modifications

  would fundamentally alter the nature of such goods, services, facilities, privileges, advantages, or

  accommodations[.]”

                  h.       42 U.S.C. Section 12182(b)(2)(iii) describes as discrimination: “a failure to




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  take such steps as may be necessary to ensure that no individual with a disability is excluded,

  denied services, segregated or otherwise treated differently than other individuals because of the

  absence of auxiliary aids and services, unless the entity can demonstrate that taking such steps

  would fundamentally alter the nature of the good, service, facility, privilege, advantage, or

  accommodation being offered or would result in an undue burden[.]”

         9.      As the owner or operator of the subject website, Defendant is required to comply

  with the ADA and the provisions cited above. This includes an obligation to create and maintain a

  website that is accessible to and usable by visually impaired persons so that they can enjoy full and

  equal access to the website and the content therein, including the ability to place orders through

  the website for pickup at a designated location.

         10.     Plaintiff attempted to access and/or utilize Defendant's website, but was unable to,

  and she continues to be unable to enjoy full and equal access to the website and/or understand the

  content therein because numerous portions of the website do not interface with and are not

  readable by SRS. More specifically, features of the website that are inaccessible to the visually

  impaired include, but are not limited to, the following: the quantity field is visually displayed in a

  way so that users instantly know what it is. This field includes a + and - button and a default

  quantity of 1. The issue is that this is not communicated to screen reader users. They do not hear a

  label for this field. Instead, they hear "main landmark edit selected one." The website displays a

  text alert when a user selects a size that is not available, however, this alert is not announced.

  Instead, after a user selects a size that is unavailable, focus moves down the page to the "Related

  Products" section so it appears that the website is not working since they are not informed nor will

  they understand why suddenly a different item is being announced. Skip navigation is announced

  but it does not work. After pressing the Skip to content button, the page does shift visually but




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  there's no change for screen reader users. Users still had to go through every link and menu item

  on the page before we got to the content. For example, when users attempted to view the cart, they

  used the Skip button but they still had to tab 132 times before getting to the items in the cart. The

  interest-free payment option opens into a pop-up box that is not announced. After clicking this

  payment button, the popup is displayed but the box is not announced immediately, as required. A

  user who opens this payment option will hear other items on the page that are behind the box. The

  size guide opens into a new window that a user must close to return to the main website. The issue

  is that the button used to close the window is not labeled so users just hear "button" without any

  context as to its purpose so they may be prevented from returning to the main website.

          11.     Plaintiff continues to attempt to utilize the website and/or plans to continue to

  attempt to utilize the website in the near future. In the alternative, Plaintiff intends to monitor the

  website in the near future, as a tester, to ascertain whether it has been updated to interact properly

  with screen reader software.

          12.     As more specifically set forth above, Defendant has violated the above cited

  provisions of the ADA by failing to interface its website with software utilized by visually

  impaired individuals. Thus, Defendant has violated the following provisions either directly or

  through contractual, licensing or other arrangements with respect to Plaintiff and other similarly

  situated individuals on the basis of their disability:

                  a.      by depriving her of the full and equal enjoyment of the goods, services,

  facilities, privileges, advantages, or accommodations of its place of public accommodation (42

  U.S.C. § 12182(a));

                  b.      in the denial of the opportunity to participate in or benefit from the goods,

  services, facilities, privileges, advantages, or accommodations (42 U.S.C. § 12182(b)(1)(A)(i));




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                 c.      in affording her the opportunity to participate in or benefit from a good,

  service, facility, privilege, advantage, or accommodation that is not equal to that afforded to other

  individuals (42 U.S.C. § 12182(b)(1)(A)(ii));

                 d.      by providing her a good, service, facility, privilege, advantage, or

  accommodation that is different or separate from that provided to other individuals, unless such

  action is necessary to provide the individual or class of individuals with a good, service, facility,

  privilege, advantage, or accommodation, or other opportunity that is as effective as that provided

  to others (42 U.S.C. § 12182(b)(1)(A)(iii));

                 e.      by failing to afford her goods, services, facilities, privileges, advantages,

  and accommodations in the most integrated setting appropriate to the needs of the individual (42

  U.S.C. § 12182(b)(1)(B));

                 f.      notwithstanding the existence of separate or different programs or activities

  provided in accordance with this section, by denying her the opportunity to participate in such

  programs or activities that are not separate or different. (42 U.S.C. § 12182(b)(1)(C));

                 g.      by a failure to make reasonable modifications in policies, practices, or

  procedures, when such modifications are necessary to afford such goods, services, facilities,

  privileges, advantages, or accommodations to individuals with disabilities, unless the entity can

  demonstrate that making such modifications would fundamentally alter the nature of such goods,

  services, facilities, privileges, advantages, or accommodations (42 U.S.C. § 12182(b)(2)(ii)); and,

                 h.      by a failure to take such steps as may be necessary to ensure that they are not

  excluded, denied services, segregated or otherwise treated differently than other individuals

  because of the absence of auxiliary aids and services, unless the entity can demonstrate that taking

  such steps would fundamentally alter the nature of the good, service, facility, privilege, advantage,




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  or accommodation being offered or would result in an undue burden (42 U.S.C. § 12182(b)(2)(iii)).

         13.        Plaintiff would like to be a customer at Defendant’s brick and mortar location but

  before she goes to the store, she would like to determine what is available for her purchasing, what

  promotions are being offered and what new items are currently available. In that regard, Plaintiff

  continues to attempt to utilize the website and/or plans to continue to attempt to utilize the website

  on a monthly basis to make selections for purchasing online or in the store.

         14.        Plaintiff is continuously aware of the violations at Defendant's website and is aware

  that it would be a futile gesture to attempt to utilize the website as long as those violations exist

  unless she is willing to suffer additional discrimination.

         15.        Plaintiff has suffered, and continues to suffer, frustration and humiliation as the result

  of the discriminatory conditions present at Defendant's website. By continuing to operate its

  website with discriminatory conditions, Defendant contributes to Plaintiff's sense of isolation and

  segregation and deprives Plaintiff the full and equal enjoyment of the goods, services, facilities,

  privileges and/or accommodations available to the general public. By encountering the

  discriminatory conditions at Defendant's website, and knowing that it would be a futile gesture to

  attempt to utilize the website unless she is willing to endure additional discrimination, Plaintiff is

  deprived of the meaningful choice of freely visiting and utilizing the same accommodations readily

  available to the general public and is deterred and discouraged from doing so. By maintaining a

  website with violations, Defendant deprives plaintiff the equality of opportunity offered to the

  general public.

         16.        Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

  of the Defendant’s discrimination until the Defendant is compelled to comply with the

  requirements of the ADA.




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            17.   Plaintiff has a realistic, credible, existing and continuing threat of discrimination

  from the Defendant’s non-compliance with the ADA with respect to this website as described

  above. Plaintiff has reasonable grounds to believe that she will continue to be subjected to

  discrimination in violation of the ADA by the Defendant. Plaintiff desires to access the website to

  avail herself of the benefits, advantages, goods and services therein, and/or to assure herself that

  this website is in compliance with the ADA so that she and others similarly situated will have full

  and equal enjoyment of the website without fear of discrimination.

            18.   The Plaintiff and all others similarly situated will continue to suffer such

  discrimination, injury and damage without the immediate relief provided by the ADA as requested

  herein.

            19.   Plaintiff is without adequate remedy at law and is suffering irreparable harm.

  Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s fees, costs and

  litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

            20.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

  Injunctive Relief, including an order to require the Defendant to alter its website to make it readily

  accessible to and usable by Plaintiff and other persons with vision impairment.

            21.   As a result of the foregoing, Plaintiff has been obligated to retain the undersigned

  counsel for the filing and prosecution of this action. Plaintiff is entitled to have her reasonable

  attorneys' fees, costs and litigation expenses paid by Defendant pursuant to 42 U.S.C. § 12205.

            WHEREFORE, Plaintiff respectfully requests:

            a.    The Court issue a Declaratory Judgment that determines that the Defendant's website
                  at the commencement of the subject lawsuit is in violation of Title III of the
                  Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.;

            b.    The Court issue a Declaratory Judgment that determines that the Defendant's website
                  is in violation of Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181



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               et seq.;

        c.     The Court issue a Declaratory Judgment that Defendant has violated the ADA by
               failing to monitor and maintain its website to ensure that it is readily accessible to
               and usable by persons with vision impairment;

        d.     That this Court issue an Order directing Defendant to alter its website to make it
               accessible to, and useable by, individuals with disabilities to the full extent required
               by Title III of the ADA;

        e.     That this Court enter an Order directing Defendant to evaluate and neutralize its
               policies and procedures towards persons with disabilities for such reasonable time
               so as to allow Defendant to undertake and complete corrective procedures;

        f.     That this Court enter an Order directing Defendant to continually update and
               maintain its website to ensure that it remains fully accessible to and usable by
               visually impaired individuals;

        g.     An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C. §
               12205; and,

        h.     Such other relief as the Court deems just and proper, and/or is allowable under Title
               III of the Americans with Disabilities Act.

  Dated: September 11, 2020


                                               Respectfully submitted,

                                               /s/ J. Courtney Cunningham
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